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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                          _____________________________________


GEORGE ANIBOWEI,

        Plaintiff,

v.                                               Civil Action No. 3:16-CV-3495-D

JEFFERSON B. SESSIONS, et al.,

        Defendants.

                        NOTICE OF SUBSTITUTION OF COUNSEL

        Pursuant to local civil rule 83.12, Assistant U.S. Attorney Sarah E. Delaney is

hereby substituted for Assistant U.S. Attorney Brian W. Stoltz as counsel for the

defendants in this case.

                                                  Respectfully submitted,

                                                  ERIN NEALY COX
                                                  United States Attorney

                                                  /s/ Sarah E. Delaney
                                                  Sarah E. Delaney
                                                  Assistant United States Attorney
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                                                  Attorneys for Defendants




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                                         Certificate of Service

        On August 29, 2018, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                       /s/ Sarah E. Delaney
                                                       Sarah E. Delaney
                                                       Assistant United States Attorney




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